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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              TEXARKANA DIVISION


PUSH DATA LLC,                                   §
                                                 §   CIVIL ACTION NO. 5:21-CV-00069-RWS
v.                                               §
                                                 §   LEAD CASE
DOLLAR GENERAL CORPORATION                       §
                                                 §


PUSH DATA LLC,                                   §
                                                 §   CIVIL ACTION NO. 5:21-CV-00070-RWS
v.                                               §
                                                 §
JERSEY MIKES FRANCHISE SYSTEMS                   §
INC.                                             §


PUSH DATA LLC,                                   §
                                                 §   CIVIL ACTION NO. 5:21-CV-00072-RWS
v.                                               §
                                                 §
SHERWIN-WILLIAMS COMPANY                         §


PUSH DATA LLC,                                   §
                                                 §   CIVIL ACTION NO. 5:21-CV-00075-RWS
v.                                               §
                                                 §
RETAIL SERVICES & SYSTEMS, INC.,                 §
D.B.A. TOTAL WINE & MORE                         §


                                           ORDER

       Before the Court is Plaintiff Push Data LLC’s (“Push Data”) Notice of Voluntary Dismissal

with Prejudice Under Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure (Docket No. 36)

as to Defendants Dollar General Corporation, Jersey Mike’s Franchise Systems Inc., Sherwin-

Williams Company and Retail Services & Systems, Inc., d.b.a. Total Wine & More (collectively,

“Defendants”). Accordingly, it is
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    .
        ORDERED that Push Data’s claims against Defendants are hereby DISMISSED WITH

PREJUDICE. It is further

        ORDERED that Defendants’ claims, defenses or counterclaims for relief against Push

Data are DISMISSED WITH PREJUDICE. It is further

        ORDERED that all attorneys’ fees, costs and expenses shall be borne by the party

incurring the same.

        IT IS SO ORDERED.

        SIGNED this 24th day of June, 2022.



                                                      ____________________________________
                                                      ROBERT W. SCHROEDER III
                                                      UNITED STATES DISTRICT JUDGE




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